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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGI A
                             WAYCROSS DIVISIO N




UNITED STATES OF AMERICA

                                                       CASE NO. CR505-02 1
             V.

JAMES "JABBER" LEE
TODD SWEAT



                                       ORDE R


      The Court has been advised that all portions of the Consolidated Discovery Motion

filed by Defendant Sweat have been resolved with the exception of his request concerning

informants, and a request to examine an address book seized in the search of his home .

Accordingly, all other portions of the Consolidated Discovery Motion are hereby

DISMISSED as moot.
      SO ORDERED , this day of May, 2006 .




                                                    ES .GRA A M
                                                 NITED STATES MAGISTRATE JUDGE
